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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )                  8:12CR33
                      Plaintiff,                )
                                                )
       vs.                                      )                   ORDER
                                                )
ALEJANDRO OLVERA-MARTINEZ,                      )
                                                )
                      Defendant.                )


       This matter is before the court on the motion for an extension of time by defendant
Alejandro Olvera-Martinez (Olvera-Martinez) (Filing No. 75). Olvera-Martinez seeks an additional
thirty days in which to file pretrial motions in accordance with the progression order. Olvera-
Martinez's counsel represents that Olvera-Martinez will file an affidavit wherein he consents to
the motion and acknowledges he understands the additional time may be excludable time for the
purposes of the Speedy Trial Act. Olvera-Martinez's counsel represents that government's
counsel has no objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Olvera-Martinez's motion for an extension of time (Filing No. 75) is granted.
Olvera-Martinez is given until on or before October 3, 2012, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion
and outweigh the interests of the public and the defendant in a speedy trial. The additional time
arising as a result of the granting of the motion, i.e., the time between September 4, 2012, and
October 3, 2012, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time
to adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 4th day of September, 2012.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
